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  10                          UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12                               WESTERN DIVISION
  13 ALEXANDER BAYONNE STROSS,                 Case No. 2:21-cv-01181 JVS (AFMx)
  14 an individual,                            Hon. James V. Selna

  15              Plaintiff                    JUDGMENT
  16        v.
                                               Date:             September 13, 2021
  17 NEXT LUXURY LLC, a Wyoming                Time:             1:30 p.m.
                                               Courtroom:        10C
  18 limited liability company;
     NEXTLUXURYDOTCOM LLC, a
  19 Wyoming limited liability company;        Complaint filed: February 9, 2021
  20 BRIAN CORNWELL, and individual;
     and DOES 1-10, inclusive,
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  22               Defendants.
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                                       JUDGMENT
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   1         Upon considering Plaintiff Alexander Bayonne Stross’s motion for default
   2 judgment against Defendant Brian Cornwell, all documents filed in support
   3 thereof, and the arguments of counsel at the hearing; and it appearing that good
   4 cause exists to grant Plaintiff’s motion;
   5         IT IS HEREBY ORDERED that default judgment be entered in favor of
   6 Plaintiff Alexander Bayonne Stross and against Defendant Brian Cornwell, for,
   7 among other things, Defendant Brian Cornwell’s failure to appear or otherwise
   8 defend in this action.
   9         IT IS FURTHER ORDERED that judgment be entered in favor of
  10 Plaintiff Alexander Bayonne Stross in the total amount of $463,790.17,
  11 representing $450,000.00 in statutory damages, $12,600.00 in reasonable
  12 attorneys’ fees and $1,190.17 for costs of suit.
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  16 Dated: September 27, 2021
                                             James V. Selna
  17                                         United States District Judge
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                                          JUDGMENT
